                      Case 5:24-mj-01466-ESC Document 1 Filed 10/19/24 Page 1 of 5
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                                     FILED
                                                             for the                                           October 19, 2024
                                                 Western District of Texas                                   CLERK, U.S. DISTRICT COURT
                                                                                                             WESTERN DISTRICT OF TEXAS

                  United States of America                      )                                                            AC
                                                                                                         BY: ________________________________
                             v.                                 )                                                                DEPUTY
                                                                )       Case No.           SA:24-MJ-1466
               Frances Edward HILLIARD                          )
                           aka                                  )
                    Eddie HILLIARD                              )
                                                                )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 18, 2024                            in the county of Bexar                                      in the
Western                District of Texas                    , the defendant(s) violated:
            Code Section                                                   Offense Description
18 U.S.C. §§ 922(g)(1) and                 Felon in possession of a firearm.
924(a)(8)
                                           Imprisonment: Up to 15 years; Supervised Release: Up to 3 years;
                                           Fine: Up to $250,000; Mandatory Special Assessment: $100



         This criminal complaint is based on these facts:

See attached Affidavit.




              Continued on the attached sheet.

                                                                        GARRETT ROSS (Affiliate) Digitally signed by GARRETT ROSS (Affiliate)
                                                                                                 Date: 2024.10.18 16:34:05 -05'00'

                                                                                             Complainant’s signature

                                                                        Garrett Ross, DEA Task Force Officer
                                                                                               Printed name and title
    Sworn to before me and signed in my presence.
    Sworn to telephonically and signed electronically.


Date:     October 19, 2024
                                                                                                 Judge’s signature

City and state:      San Antonio, Texas                                 ELIZABETH S. CHESTNEY, U.S. MAGISTRATE JUDGE
                                                                                               Printed name and title
            Case 5:24-mj-01466-ESC Document 1 Filed 10/19/24 Page 2 of 5




                                         AFFIDAVIT

       I, Garrett Ross, being duly sworn, state the following:

                   INTRODUCTION AND BACKGROUND OF AGENT

       1.      I am a Task Force Officer with the Drug Enforcement Administration (“DEA”) and

have been since March 2024. I am currently employed with the Hondo Police Department’s

(“HPD”) Criminal Investigation Division Narcotics unit since October 2019, in which role I

received training and experience pertaining to controlled substances investigations, including the

methods by which controlled substances are consumed, manufactured, packaged, marketed, and

distributed. I have been a Texas Peace Officer with HPD since February 2018. I am currently

assigned to the DEA San Antonio District Office.

       2.      My experience as a TFO and a Texas Peace Officer includes, but is not limited to,

conducting physical surveillance, interviewing suspects and witnesses, writing affidavits,

executing search warrants, and participating in, or leading, a series of criminal investigations. I

have received training on the investigation of violations of the federal controlled substances laws

and have been personally involved in numerous drug trafficking and drug smuggling

investigations. As a result of training, education, experience, and discussions with other law

enforcement personnel, I am familiar with the clandestine ways in which controlled substances are

processed and packaged, concealed, smuggled, transported, stored, and sold in the United States.

I am also aware through my experience and training that members of drug organizations employ

practices and counter-surveillance methods to avoid detection by law enforcement. I am also

aware through my experience and training that drug traffickers often use cellular phones and

applications on cellular phones during and in furtherance of their drug trafficking activities. I am




                                                 1
            Case 5:24-mj-01466-ESC Document 1 Filed 10/19/24 Page 3 of 5




also aware through my experience and training that drug traffickers often possess firearms during

and in furtherance of their drug trafficking activities.

       3.      In many of my investigations, I have identified co-conspirators through various

means, and have participated in the debriefings of many drug traffickers who cooperated with the

Government and explained their methods and ways of operation. I have successfully directed

confidential sources and cooperating individuals in efforts to infiltrate various-sized narcotics

enterprises, which efforts encompassed intelligence gathering, informant participation in

consensual recordings, and monitored purchases by informants of controlled substances. On

numerous occasions I have executed search warrants for controlled substances and have conducted

surveillance in connection with narcotic investigations.

       4.      As a DEA TFO, I am a federal law enforcement officer within the meaning of Rule

41(a) of the Federal Rules of Criminal Procedure, that is, an officer of the United States who is

empowered by law to conduct investigations of, and to make arrests for, offenses in violation of

the United States Code.

       5.      I make this Affidavit, in part, based on my personal observation, experience,

training; my personal knowledge gathered during my participation in this investigation;

information conveyed to me by other law enforcement officers and witnesses involved in this

investigation, either personally in conversation or through their reports; my review of physical

evidence obtained during the investigation; and my review of records obtained during this

investigation. This affidavit is submitted for the limited purpose of establishing probable cause,

and it does not include each fact of this investigation.

       6.      Based on the facts set forth herein, I submit that there is probable cause to believe

that on or about October 18, 2024, within the Western District of Texas, Francis Edward “Eddie”


                                                   2
            Case 5:24-mj-01466-ESC Document 1 Filed 10/19/24 Page 4 of 5




HILLIARD, who is a convicted felon, was found to be in possession of over 20 firearms, including

at least a Glock 19 9mm handgun with serial number YHK559, which was manufactured outside

the state of Texas, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8).

       7.      On October 18, 2024, law enforcement executed a federal search warrant at

HILLIARD’s residence at 12734 US Highway 90 West, San Antonio, Texas, 78245, which is

within the Western District of Texas. During the execution of the search warrant, over 20 firearms

were found in a bunker on HILLARD’s residence, at least some of which were manufactured

outside the state of Texas, including at least a Glock 19 9mm handgun with serial number

YHK559. A suppressor for a firearm was also located in the bunker. The bunker was sealed by a

padlock, and the key for that padlock was found in HILLIARD’s possession.

       8.      Based on a review of HILLIARD’s criminal history, HILLIARD is a convicted

felon, including at least the following felony convictions: a 2008 felony conviction for possession

of a controlled substance in penalty group 1, at least 4 grams but less than 200 grams, a Texas

second-degree felony, which conviction occurred in the 226th District Court in San Antonio; and

a 2012 felony conviction for manufacture/delivery of a controlled substance in penalty group 1, at

least 200 grams but less than 400 grams, a Texas first-degree felony, which conviction occurred

in the 144th District Court in San Antonio.

                        FEDERAL CHARGES AND PROSECUTION

       9.      Based on the above facts, there is probable cause to believe that, on or about

October 18, 2024, in the Western District of Texas, Defendant Francis Edward “Eddie”

HILLIARD, knowing that he had been convicted of a crime punishable by imprisonment for a

term exceeding one year, knowingly possessed a firearm that had been shipped and transported in




                                                3
          Case 5:24-mj-01466-ESC Document 1 Filed 10/19/24 Page 5 of 5




interstate commerce, to wit: a Glock 19 9mm handgun with serial number YHK559, in violation

of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

       10.     If convicted, the penalty for this offense is up to 15 years in prison, up to 3 years of

supervised release, a fine of up to $250,000, and a $100 mandatory special assessment.

       11.     Assistant United States Attorney John Fedock has agreed to prosecute this case in

the Western District of Texas.

                                               Respectfully submitted,
                                              GARRETT ROSS   Digitally signed by GARRETT
                                                             ROSS (Affiliate)
                                              ______________________________
                                              (Affiliate)    Date: 2024.10.18 17:14:54 -05'00'

                                               Garrett Ross
                                               Task Force Officer
                                               Drug Enforcement Administration

                                 19th
Sworn telephonically on this __________ day of October 2024.


____________________________
Elizabeth S. Chestney
United States Magistrate Judge




                                                  4
